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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

 IN RE APPLICATION OF THE NEW
 YORK TIMES CO. AND CHARLIE
 SAVAGE FOR ACCESS TO CERTAIN
 DOCKETS, ORDERS, LEGAL                               Miscellaneous Case No. 22-100 (BAH)
 BRIEFING, AND ARGUMENT
 TRANSCRIPTS ANCILLARY TO                             (consolidated with No. 22-104)
 JANUARY 6 GRAND JURY
 PROCEEDINGS



             UNITED STATES’ SUPPLEMENTAL BRIEF IN RESPONSE TO
                     THE COURT’S FEBRUARY 7, 2023 ORDER

       The United States submits the following response to the Court’s order directing the parties

to file supplemental briefs addressing: (1) whether the Court has authority to unseal judicial

opinions related to grand jury investigations in light of McKeever v. Barr, 920 F.3d 842

(D.C. Cir. 2019); and (2) if the Court does have authority to unseal such opinions after McKeever,

(a) how that authority could be exercised where, as here, a petitioner seeks an alleged specific

judicial opinion and related documents associated with a public Special Counsel investigation, or

(b) whether “judicial decisions arising from grand jury matters garnering little to no press attention

may necessitate fewer redactions to preserve grand jury secrecy than those judicial decisions

arising from grand jury matters subject to intense press attention such that the latter decisions may

not be released by the Court at all.” See Minute Order (Feb. 7, 2023).

       1.      The D.C. Circuit’s decision in McKeever does not alter this Court’s authority to

unseal judicial opinions related to grand jury investigations, in whole or in part, where the

information released does not reveal “a matter occurring before a grand jury.” See Fed. R. Crim.

P. 6(e)(6); see also, e.g., In re Grand Jury Subpoena, Judith Miller, 493 F.3d 152, 154–55

(D.C. Cir. 2007) (ordering portions of opinion and other materials to be released but recognizing

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that “[i]nsofar as materials concern still-secret grand jury matters, they must remain sealed”);

In re Grand Jury Subpoena, Judith Miller, 438 F.3d 1138, 1140–41 (D.C. Cir. 2006) (similar);

In re Motions of Dow Jones & Co., 142 F.3d 496, 504–05 (D.C. Cir. 1998) (similar).

       Federal Rule of Criminal Procedure 6(e) and Local Criminal Rule 6.1 reflect this

distinction between release of information that discloses matters occurring before the grand jury

covered by Rule 6(e), which is not permitted, and release of information not covered by Rule 6(e),

which is. Rule 6(e) “codifies the traditional rule of grand jury secrecy.” United States v. Sells

Eng’g, Inc., 463 U.S. 418, 425 (1983). Consistent with this principle, the Rule mandates that

“[r]ecords, orders, and subpoenas relating to grand-jury proceedings must be kept under seal to the

extent and as long as necessary to prevent the unauthorized disclosure of a matter occurring before

the grand jury.” Fed. R. Crim. P. 6(e)(6). Rule 6(e)(6) thus establishes a presumption of secrecy

with respect to matters ancillary to grand jury proceedings, but recognizes that to the extent matters

occurring before the grand jury become public through authorized means, those judicial materials

may be unsealed. Local Criminal Rule 6.1 embodies these same principles. The Local Rule

mandates that “motion[s] or application[s],” response or reply briefs, and court orders entered in

connection with “matter[s] occurring before a grand jury” be filed under seal. LCrR 6.1. But it

also authorizes a district court, sua sponte or in response to a motion, to make public covered

“[p]apers, orders, and other transcripts,” exclusively “upon a finding that continued secrecy is not

necessary to prevent disclosure of matters occurring before the grand jury.” Id.

       D.C. Circuit case law confirms courts’ ability to release judicial decisions that do not reveal

information protected under Rule 6(e)—and their obligation under Rule 6(e)(6) to maintain

under seal information that would reveal secret grand jury matters. For example, in In re Grand

Jury Subpoena, Judith Miller, the D.C. Circuit ordered the release of portions of an opinion it



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determined were no longer covered by Rule 6(e) because the information had been disclosed in an

indictment, but held that other portions “unquestionably remain[ed] grand jury material that

Rule 6(e) obligates us to maintain under seal.” 438 F.3d at 1141; see also In re Grand Jury

Subpoena, Judith Miller, 493 F.3d at 154–55 (similar). The unsealing analysis in the D.C. Circuit

therefore turns upon whether the material sought to be disclosed would reveal information

protected under Rule 6(e).1 See id. If not, all or part of those materials may be unsealed pursuant

to Rule 6(e)(6) and Local Criminal Rule 6.1. “Insofar as materials concern still-secret grand jury

matters, they must remain sealed.” In re Grand Jury Subpoena, Judith Miller, 493 F.3d at 155.

       The D.C. Circuit’s decision in McKeever did not alter this framework. As the Court is

aware, the question presented there was whether a court had “inherent authority to disclose

historically significant grand jury matters”; the D.C. Circuit concluded that a district court’s

authority “to order disclosure of grand jury matter” was confined to “the enumerated exceptions”

in Rule 6(e). See McKeever, 920 F.3d at 225, 227. McKeever did not consider the contours of a

district court’s ability to unseal judicial records ancillary to, and non-revelatory of, grand jury

proceedings. It is true that, in the broadest sense, all judicial opinions resulting from a grand jury

matter arguably reflect something that happened before the grand jury. It is also true, however,

that once an opinion is stripped of specific information reflecting matters occurring before the

grand jury, it may be possible to disclose some portions of the opinion without revealing such




1
  Although “Rule 6(e) does not create a type of secrecy which is waived once public disclosure
occurs,” the D.C. Circuit has held that information that is “sufficiently widely known” may “los[e]
its character as Rule 6(e) material.” Dow Jones, 142 F.3d at 505 (quoting In re North,
16 F.3d 1234, 1245 (D.C. Cir. 1994)). The D.C. Circuit has found that information was so widely
known as to lose its character as Rule 6(e) material in two situations: (1) where a grand jury witness
widely publicized it, see, e.g., In re Grand Jury Subpoena, Judith Miller, 493 F.3d at 154–55; Dow
Jones, 142 F.3d at 505; or (2) where there have been other types of governmental disclosures, such
as release of reports under the former independent counsel statute, see In re North, 16 F.3d at 1245.
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information. Nothing in McKeever or Rule 6(e) precludes such an analysis.

        2.      Although a district court has the authority to unseal portions of judicial opinions

where doing so would not reveal a matter occurring before the grand jury, the D.C. Circuit has

recognized that “matters occurring before the grand jury” may be so “woven tightly into . . .

ancillary proceedings” that no such material can be released. Dow Jones, 142 F.3d at 505; see also

In re North, 16 F.3d at 1242 (acknowledging that “redaction is simply not possible” in some

circumstances). Thus, determining whether any portion of a judicial opinion ancillary to an alleged

grand jury proceeding may be released is a fact-bound inquiry that may result in a determination

that no material may be released at all, or that no material may be released at that time.

        Matters “occurring before the grand jury” encompass all “information that would ‘tend to

reveal some secret aspect of the grand jury’s investigation, including the identities of witnesses or

jurors, the substance of testimony, the strategy or direction of the investigation, or the deliberations

or questions of jurors.” Bartko v. U.S. Dep’t of Justice, 898 F.3d 51, 73 (D.C. Cir. 2018) (quoting

Hodge v. FBI, 703 F.3d 575, 580 (D.C. Cir. 2018)). Rule 6(e) also covers “the fact that [a witness]

was subpoenaed to testify,” “the fact that he invoked [a] privilege in response to questions,” and

“the nature of the questions asked.” Dow Jones, 142 F.3d at 501. In certain circumstances,

revealing even the fact that a particular motion was filed, or an opinion was issued, would disclose

a matter occurring before the grand jury. See id. at 505 (recognizing that the release of redacted

materials ancillary to a grand jury could impermissibly “confirm the identity of a person the grand

jury had subpoenaed”).

        In applying this analysis, the degree of attention paid to a matter may affect whether

disclosure of a particular piece of information would reveal a matter occurring before the grand

jury. In assessing whether disclosure of even redacted ancillary materials would reveal a matter



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occurring before the grand jury, the Court would consider the nature and extent of information

already available. Where an alleged matter ancillary to an alleged grand jury investigation has

been the subject of significant speculation or reporting in the press,2 it may not be possible to

unseal any portion of requested materials without violating Rule 6(e).              See Dow Jones,

142 F.3d at 505 (acknowledging that “sometimes ‘redaction is simply not possible’” (quoting

In re North, 16 F.3d at 1242)).

       Nor is that anomalous in light of the values protected by the longstanding tradition of grand

jury secrecy. For example, prospective witnesses would be even less likely to come forward, or

to provide fulsome testimony, in a high-profile matter if they believed it was likely that the fact of,

or substance of, their testimony might be disclosed. See, e.g., Douglas Oil Co. v. Petrol Stops

N.W., 441 U.S. 211, 218 (1979). Moreover, there is a far greater risk in a high-profile matter that

any disclosure by a court might reveal or confirm that unindicted individuals were under

investigation by a grand jury, which would harm their reputational and privacy interests without

providing them any forum in which to clear their names. See id. This Court has recognized a

similar principle in a different context, observing that redactions are not always adequate to protect

the interests served by secrecy where a matter is the subject of intense media scrutiny. See

In re Application of WP Co., 201 F. Supp. 3d 109, 128 (D.D.C. 2016) (concluding that “due to the

degree of media scrutiny” associated with a request for search warrant materials, “redaction of the

requested materials [would be] insufficient to protect adequately the compelling privacy,

reputational, and due process interests identified by the government” and ordering “full closure of

the sealed warrant materials”). Thus, to advance the policy goals underlying grand jury secrecy,



2
 The D.C. Circuit has distinguished the types of disclosures that may cause information to lose its
Rule 6(e) character, such as widespread disclosure by a grand jury witness, from speculation in
“press reports relying on unnamed sources.” See Dow Jones, 142 F.3d at 505.
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it may well be necessary for a court to more frequently decline to release judicial opinions ancillary

to grand jury investigations in matters that are the subject of intense press attention as opposed to

matters that have attracted little public attention.3


Dated: February 13, 2023                                Respectfully submitted,

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 The United States does not purport to address the specifics of Applicants’ request in this filing
and nothing in this brief should be read to specifically reference, or to confirm or deny, any alleged
grand jury investigation.
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